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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO

 Symbology Innovations, LLC,                    )
                                                )
                   Plaintiff,                   )          Case No. 3:19-02867-JGC
                                                )
        v.                                      )          Judge James G. Carr
                                                )
 Johnny Rockets Group, Inc.,                    )
                                                )
                   Defendant.                   )
                                                )

         Now comes, Plaintiff Symbology Innovations LLC, by and through its counsel, and

 pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(i), hereby voluntarily dismisses all claims it asserted

 against Defendant Johnny Rockets Group, Inc. in this action WITH PREJUDICE. Johnny

 Rockets Group, Inc. has not served an answer or a motion for summary judgment.

 Dated: April 20, 2020                              Respectfully submitted,

                                                    /s/ Howard L. Wernow
                                                    Howard L. Wernow (SBN 0089019)
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                                                    Counsel for Plaintiff

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on April 20, 2020, to all counsel of record who are deemed to have consented to

electronic service via the Court’s CM/ECF system.

                                                      /s/ Howard L. Wernow
                                                        Howard L. Wernow
